Case 3:16-md-02738-MAS-RLS              Document 25183         Filed 09/14/21      Page 1 of 3 PageID:
                                             150662



                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW JERSEY
                               TRENTON VICINAGE

  IN RE: JOHNSON & JOHNSON
  TALCUM POWDER PRODUCTS                                        Master File No. 3:16-MD-02738
  MARKETING, SALES PRACTICES,                                           MDL No. 2738
  AND PRODUCTS LIABILITY
  LITIGATION                                                     HON. FREDA L. WOLFSON
  __________________________________
  THIS DOCUMENT RELATES TO:                                       HON. LOIS H. GOODMAN

  Botzenhardt v. Johnson & Johnson, et al.
  Case No. 3:17-cv-13718

  Cavolt v. Johnson & Johnson, et al.
  Case No. 3:16-cv-09400

  Nichols v. Johnson & Johnson, et al.
  Case No. 3:17-cv-13826

  Nuckols v. Johnson & Johnson, et al.
  Case No. 3:18-cv-01404

  Prickett v. Johnson & Johnson, et al.
  Case No. 3:19-cv-20353

  Senter v. Johnson & Johnson, et al.
  Case No. 3:17-cv-13827

  Sieckman v. Johnson & Johnson, et al.
  Case No. 3:18-cv-03003

  Smith v. Johnson & Johnson, et al.
  Case No. 3:19-cv-20329



                        RULE 7.1.1(a) DISCLOSURE STATEMENT
           Plaintiffs, in the above-captioned cases, hereby notify the Court, pursuant to Local Rule

  7.1.1(a), that there is no person or entity not a party to this action providing funding for any portion

  of the Plaintiffs’ attorney’s fees or expenses of litigation in exchange for a contingent financial
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  interest based upon the results of the litigation or a non-monetary result that is not in the nature of

  a personal or bank loan or insurance. (See attached Exhibit A).


  Dated: September 14, 2021                        Respectfully Submitted,

                                                   /s/ Levi M. Plesset
                                                   Levi M. Plesset (CA Bar No. 296039)
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                                                   & WADE, LLP
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                                                   Attorney for Plaintiffs
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                                CERTIFICATE OF SERVICE

         I hereby certify that I filed the foregoing document on September 14, 2021, using the

  Court’s CM-ECF filing system, thereby sending notice of the filing to all counsel of record in

  this matter.



                                                      /s/ Levi M. Plesset
                                                       Levi M. Plesset
